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                                                          U.S. Department of Justice

                                                          National Security Division


   Counterintelligence and Export Control Section         Washington, D.C. 20530




                                                          September 19, 2022

   By ECF and Courtesy Copy

   Judge Raymond J. Dearie
   United States District Court
    Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11202

   Re:       Donald J. Trump v. United States of America, Case No. 22-81294-CIV-CANNON –
             Proposed Agenda Items for Preliminary Conference

   Dear Judge Dearie:

   Pursuant to your Order (ECF 94), which invited the parties to submit a proposed agenda for the
   preliminary conference to be held on Tuesday, September 20, 2022, the government submits the
   following proposed agenda:

         1. Precise mechanics of document flow.

         2. Aspects of the Order Appointing you as Special Master, ECF 91 (the “Appointment
            Order”) (e.g., facilitation of consultation with the National Archives and Records
            Administration (ECF 91 ¶ 3)) and discussion of the Draft Case Management Plan
            provided by the Special Master to the parties on September 19, 2022.

         3. Next progress review and status conference.

   The government elaborates on each proposed topic below.

         1. Precise mechanics of document flow

   The Appointment Order contemplates the review of approximately 11,000 documents obtained
   through the execution of a court-authorized search warrant on August 8, 2022 (the “Seized
   Materials”) by shortly after Thanksgiving.1 The review process generally requires Plaintiff to

   1
     The government applied to the Eleventh Circuit for a stay last week and Plaintiff’s response is
   due tomorrow at noon, before the Master’s preliminary conference. If the Eleventh Circuit stays
   Judge Cannon’s order with respect to documents with classification markings, then the Special

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   categorize the Seized Materials as Presidential records or personal records, assert privileges that
   Plaintiff believes apply, and record those positions on a document-by-document basis in logs.
   For its part, the government is to review Plaintiff’s position and agree or disagree. Any
   disagreements are to be submitted to the Special Master for a report and recommendation to
   Judge Cannon.

   To implement the Appointment Order and complete the Special Master review process in an
   efficient and timely fashion, the government proposes that a third-party vendor be engaged to
   scan, host, and provide access to the Seized Materials to both parties on a Relativity platform,
   with each party to have access to its own private workspace to review and code documents.2 The
   Relativity document-review platform is familiar to both parties and will provide a secure,
   customizable, and auditable space in which each party can separately prepare and review logs. If
   he wishes, the Special Master can also review and mark his decisions in the Relativity platform,
   or he could make his notations on hard-copy printouts of the materials.

   To provide documents for Plaintiff’s review as soon as possible, the government is prepared to
   provide the Seized Materials (not including the Filter Materials) to the vendor, once selected and
   engaged, on approximately one day’s notice in the Washington, D.C. metropolitan area and
   similar notice plus travel time if the vendor is located outside the Washington, D.C. metropolitan
   area. FBI agents will attend and observe the scanning process to maintain the chain of custody of
   the evidence. The document-review vendor will be bound by a judicial protective order (which
   will be submitted to Judge Cannon tomorrow, September 20, 2022).

   The government proposes that the document-review vendor “batch out” documents on a rolling
   basis as they are scanned so that the Parties can begin reviewing them promptly. The government
   proposes that the Parties target the processing and logging of about 500 documents each business
   day. The vast majority of documents should be easy to categorize as Presidential or personal
   records.

   With respect to the Filter Materials, and consistent with the Appointment Order, on September
   16, 2022, the Privilege Review Team provided Bates-stamped copies of the Filter Materials, as
   well as a list of the materials with short descriptions and Bates ranges, to Plaintiff’s Counsel.

   Non-documentary items (e.g., items of clothing) will be made available to Plaintiff’s counsel and
   the Special Master for review at the FBI’s Washington Field Office on reasonable notice during

   Master will not review the documents with classification markings. If the Eleventh Circuit does
   not stay the review of the documents with classification markings, the government will propose a
   way forward.

   2
     As reflected in the public record, the government’s Privilege Review Team already reviewed
   the Seized Materials to identify potentially privileged attorney-client communications. (See ECF
   71.) Applying an extremely low threshold to screen for such potentially privileged
   communications, the Privilege Review Team identified a small number of documents (the “Filter
   Materials”). Those Filter Materials remain in the custody of the Privilege Review Team and are
   segregated from the investigative team.


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   business hours beginning tomorrow. As previously stated in other filings, once the parties agree
   that certain items are personal records, or the Court has made such a determination, the
   government will return such items that were not commingled with classified documents by
   stipulation. The government will maintain a control copy of returned materials.

        2. Other aspects of the Appointment Order (e.g., facilitation of consultation with the
           National Archives and Records Administration (ECF 91 ¶ 3)) and discussion of the
           Draft Case Management Plan provided by the Special Master to the parties on
           September 19, 2022

   The Appointment Order permits the Special Master to consult with the National Archives and
   Records Administration (ECF 91 ¶ 3). The government strongly urges the Special Master to
   consult with NARA in its determinations and is available to facilitate that consultation. The
   government is also prepared to address any questions the Special Master has for the parties on
   any aspect of the Appointment Order.

   The parties should also address the Draft Case Management Plan provided by the Special Master
   to the parties on September 19, 2022.

        3. Next progress review and status conference

   For at least the first few weeks, the government proposes that the Master conduct weekly reviews
   with the parties by video or audio conference to resolve questions and ensure smooth operation
   of the review process.3

   Attached to this letter, and pursuant to the Appointment Order, the government provides the
   search warrant executed in this matter and the redacted public versions of the underlying
   application materials for the search warrant. ECF 91 ¶ 13.

   Also attached to this letter please find a copy of the government’s proposed Judicial Protective
   Order, which is due to be filed with Judge Cannon tomorrow (Tuesday, the day of the
   preliminary conference). ECF 91 ¶ 19. Because the judicial protective order affects this Master’s
   review process, we provide a copy in case the Master wishes to inform Judge Cannon of any
   comments or concerns before it is entered.




   3
       The government is also available to meet in person if the Special Master prefers.

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                                                4

   Thank you for your consideration.

                                             Respectfully submitted,


                                             JUAN ANTONIO GONZALEZ
                                             UNITED STATES ATTORNEY

                                             MATTHEW G. OLSEN
                                             Assistant Attorney General

                                       By:   /s/
                                             JAY I. BRATT
                                              Chief
                                             JULIE EDELSTEIN
                                              Deputy Chief
                                             STEPHEN MARZEN
                                              Trial Attorney
                                             Counterintelligence and Export Control Section
                                             National Security Division
                                             Department of Justice




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                                Attachment 1

                        Search Warrant (MJ Dkt 17)
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA-- - - - - ~ - - - ,
                                                                                    ...,.&.,"'"'-_/l_'7_ D.C.
                                   CASE NO. 22-MJ-8332-BER
                                                                                  AUG 11 2022
   IN RE SEALED SEARCH WARRANT                               FILED

   ______ _ _ _ _ _                       /

                    NOTICE OF FILING OF REDACTED DOCUMENTS

          The United States hereby gives notice that it is filing the following document, which

   is a redacted version of material previously filed in this case number under seal:

      •   The search warrant (not including the affidavit) signed and approved by the Court on

          August 5, 2022, including Attachments A and B;

      •   The Property Receipt listing items seized pursuant to the search, filed with the Court

          on August 11 , 2022.




                                                              ANTO      O GONZALEZ
                                                                     TES ATTORNEY
                                                        orida Bar No. 897388
                                                      99 NE 4th Street, 8th Floor
                                                      Miami, Fl 33132
                                                      Tel: 305-961-9001
                                                      Email: juan.antonio .gonzalez@usdoj.gov




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AO 93 (Rev. 11/ 13) Search and Seizure Warrant




                                            UNITED STATES DISTRICT COURT
                                                                                for the
                                                               Sou them Disuict of F101ida

                   In the Matter of the Search of                                 )
              (Briefly describe the property to be searched                       )
               or identify the person by name and address)                        )       Case No.   22-mj-8332-BER
        the Premises Located at 1100 S. Ocean Blvd., Palm                         )
       Beach, FL 33480, as further described in Attachment A                      )
                                                                                  )

                                                  SEARCH AND SEIZURE WARRANT
To :      Any authorized law enforcement officer
         An application by a federal law enforcemenr officer or an attorney for the government requests the search
of the following person or property located in the          Southern            District of                Florida
(identify the p erson or describe the property to be searched and give its location):

       See Attachment A




        I find that the affidavit(s) or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
       See Attachment B




         YOU ARE COMMANDED to execute this wa1rnnt on or before                  August 19, 2022        (not to exceed 14 days)
       ~ in the daytime 6:00 a.m. to 10:00 p.m. D at any time in the day or night because good cause has been established.

        Unless delayed notice is authmized below, you must give a copy of the wanant and a receipt for the prope1ty taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where tl1e
property was taken.
        The officer executing this wanant, or an officer present during the execution of the wanant must prepare an invent01y
as required by law and promptly return this wanant and invento1y to                         Duty Magistrate
                                                                                                       (United States Magistrate Judge)

     D Pursuant to 18 U.S.C. § 3103a(b) I find that inlmediate notification may have an adverse result listed in 18 U.S .C.



                                    ::iA
§ 2705 (except for delay of tiial), and authorize the officer executing this wanant to delay notice to the person who, or whose


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prope1ty, will be searched or seized ,check the a•• ro. riate box)



Date and time issued:            cJ~                       /~-/,       P'/'2.             / ~                                         _
                                                                     r                    ~-'Judge'ssignat

City and state:              West Palm Beach , FL                                               Hon. Bruce Reinhart, U.S. Magistrate Judge
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                                         ATTACHMENT A

                                       Property to be searched

         The premises to be searched, 1100 S Ocean Blvd, Palm Beach, FL 33480, is further

 described as a resort, club, and residence located near the intersection of Southern Blvd and S

 Ocean Blvd. It is described as a mansion with approximately 58 bedrooms, 33 bathrooms, on a

 17-acre estate. The locations to be searched include the "45 Office," all storage rooms, and all

 other rooms or areas within the premises used or available to be used by FPOTUS and his staff

 and in which boxes or documents could be stored, including all structures or buildings on the

 estate. It does not include areas currently (i.e. , at the time of the search) being occupied, rented,

 or used by third parties (such as Mar-a-Largo Members) and not otherwise used or available to be

 used by FPOTUS and his staff, such as private guest suites.
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                                         ATTACHMENT B

                                         Property to be seized

        All physical documents and records constituting evidence, contraband, fruits of crime, or

 other items illegally possessed in violation of 18 U.S.C. §§ 793 , 2071 , or 1519, including the

 following:

                a. Any physical documents with classification markings, along with any

 containers/boxes (including any other contents) in which such documents are located, as

 well as any other containers/boxes that are collectively stored or found together with the

 aforementioned documents and containers/boxes;

                b. Information, including communications in any form, regarding the

 retrieval, storage, or transmission of national defense information or classified material ;

                c. Any government and/or Presidential Records created between January

 20, 2017, and January 20, 2021; or

                d. Any evidence of the knowing alteration, destruction, or concealment of

 any government and/or Presidential Records, or of any documents with classification

 markings.
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                                 UNITED STATES DEPARTMENT OF JUSTICE
                                       FEDERAL BUREAU OF INVESTIGATION

                              RECEIPT FOR PRBPERTY
 Case ID:
            On (date)                   item(s) listed below were:
                        -8/8/2022
                           -- - - ----- 1:8] Collected/Seized
                                                   D   Received From
                                                   0   Returned To
                                                   D   Released To


 (Name)       Mar-A-Lago
 (Street Address)       1100 S OCEAN BLVD
 (City)     PALM BEACH, FL 33480


 Description of ltem(s}:
 4 - Documents

 29 - Box labeled A-14

 30 - Box Labeled A-26

 31 · Box Labeled A-43
 32 - Box Labeled A-13

 33 - Box Labeled A-33




  Received    By,    ~ 6b2                                Received From:
                                (signature)                                     (signature)


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                                 UNITED STATES DEPARTMENT OF JUSTICE
                                      FEDERAL BUREAU OF INVESTIGATION

                             RECEIPT F8R PROPERTY
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                                                     0   Returned To
                                                     D   Released To


 (Name)       Mar-A-Lago
 (Street Address)      1100 S OCEAN BLVD
 {City)    PALM BEACH, FL 33480


 Description of ltem(s):
 1 - Executive Grant of Clemency re: Rog~r Jason Stone, Jr.

 lA - Info re : President of France

 2 - Leatherbound box of doqJ_ments

 2A - Various classified/TS/SCI documents

 3 - Potential Presidential Record

 5 - Binder of photos

 6 - Binder of photos

 7 - Handwritten note

 8 - Box labeled A-1

 9 - Box labeled A-12

 10 - Box Labeled A-15

 lOA - Miscellaneous Secret Documents

 11 - Box Labeled A-16

 11A - Miscellanous Top Secret Documents

 12 - Box labeled A-17

 13 - Box labeled A-18

 13A - M iscellaneous Top Secret Documents

 14 - Box labeled A-27

 14-A - Miscellaneous Confidential Documents
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                                UNITED STATES DEPARTMENT OF JUSTICE
                                      FEDERAL BUREAU OF INVESTIGATION

                             RECEIPT FOR PROPERTY
 15 - Box Labeled A-28

 15A- Miscellaneous Secret Documents

 16 - Box labeled A-30

 17 - Box labeled A-32

 18 - Box labeled A-35
 19 - Box labeled A-23

 19A - Confidential Document

 20 - Box Labeled A-22

 21 - Box labeled A-24
 22 - Box Labeled A-34

 23 - Box Labeled A-39

 23A - Miscellaneous Secret Documents

 24 - Box labeled A-40

 25 - Box Labeled A-41

 25A - Miscellaneous Confidential Documents

 26 - Box Labeled A-42

 26A - Miscellaneous Top Secret Documents

 27 - Box Labeled A-71

 28 - Box Labeled A-73

 28A - Miscellaneous Top




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                                 Attachment 2

           Redacted Public Underlying Application Materials
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 22-MJ-8332-BER


    IN RE SEALED SEARCH WARRANT

    ________________________________/

          NOTICE OF FILING OF REDACTED SEARCH WARRANT AFFIDAVIT
               AND REDACTED EX PARTE MEMORANDUM OF LAW
                     CONCERNING PROPOSED REDACTIONS

           The United States gives notice that, in compliance with the Court’s August 25, 2022

    Order To Unseal, Docket Entry (“D.E.”) 94, it hereby files the redacted version of the search

    warrant affidavit, submitted in support of the search warrant signed and approved by the

    Court on August 5, 2022. The redactions were previously submitted for the Court’s review

    and approved by the Court’s August 25, 2022 Order (DE89-1; DE94).

           In addition, this notice includes a redacted copy of the government’s Sealed, Ex Parte

    Memorandum of Law Concerning Proposed Redactions, filed on August 25, 2022, along with

    Exhibit B to that Memorandum, a redacted chart explaining the government’s proposed

    redactions—both of which the Court ordered unsealed on August 26, 2022. Exhibit A to that

    filing consists of the proposed redactions to the affidavit, which accompanies this Notice in

    its final, redacted form.

                                                      Respectfully submitted,

                                                      _/s Juan Antonio Gonzalez ________
                                                      JUAN ANTONIO GONZALEZ
                                                      UNITED STATES ATTORNEY
                                                      Florida Bar No. 897388
                                                      99 NE 4th Street, 8th Floor
                                                      Miami, Fl 33132
                                                      Tel: 305-961-9001
                                                      Email: juan.antonio.gonzalez@usdoj.gov
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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA


    IN THE MATTER OF THE SEARCH OF:                       )
                                                          )      Case No.
    LOCATIONS WITHIN THE PREMISES                         )
    TO BE SEARCHED IN ATTACHMENT A                        )      Filed Under Seal


                                 AFFIDAVIT IN SUPPORT OF AN
                               APPLICATION UNDER RULE 41 FOR A
                                WARRANT TO SEARCH AND SEIZE

               I,                  , being first duly sworn, hereby depose and state as follows:

                          INTRODUCTION AND AGENT BACKGROUND

          1.        The government is conducting a criminal investigation concerning the improper

  removal and storage of classified information in unauthorized spaces, as well as the unlawful

  concealment or removal of govermnent records. The investigation began as a result of a referral

  the United States National Archives and Records Administration (NARA) sent to the United

  States Department of Justice (DOJ) on Febmary 9, 2022, hereinafter, "NARA Referral." The

  NARA Referral stated that on January 18, 2022, in accordance with the Presidential Records Act

  (PRA), NARA received from the office of former President DONALD J. TRUMP, hereinafter

  "FPOTUS," via representatives, fifteen (15) boxes of records, hereinafter, the "FIFTEEN

  BOXES." The FIFTEEN BOXES, which had been transpotted from the FPOTUS property at

   1100 S Ocean Blvd, Palm Beach, FL 33480, hereinafter, the "PREMISES," a residence and club

  known as "Mar-a-Lago," fmther described in Attachment A, were reported by NARA to contain,

   among other things, highly classified documents intermingled with other records.

          2.        After an initial review of the NARA Referral, the Federal Bureau of Investigation

   (FBI) opened a criminal investigation to, among other things, determine how the documents with




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  classification markings and records were removed from the White House (or any other authorized

  location(s) for the storage of classified materials) and came to be stored at the PREMISES:

  determine whether the storage location(s) at the PREMISES were authorized locations for the

  storage of classified information; detennine whether any additional classified documents or

  records may have been stored in an unauthorized location at the PREMISES or another unknown

  location, and whether they remain at any such location; and identify any person(s) who may have

  removed or retained classified infmmation without authorization and/or in an unauthorized space.

          3.        The FBI's investigation has established that documents bearing classification

 markings, which appear to contain National Defense Information (NDI), were among the

 materials contained in the FIFTEEN BOXES and were stored at the PREMISES in an

 1mautho1ized location.




 -         Further, there is probable cause to believe that additional documents that contain

  classified NDI or that are Presidential records subject to record retention requirements currently

 remain at the PREMISES. There is also probable cause to believe that evidence of obstmction

  will be found at the PREMISES.

          4.        I am a Special Agent with the FBI assigned to the Washington Field Office

                                                           . During this time, I have received training

  at the FBI Academy located at Quantico, Virginia, specific to counterintelligence and espionage

  investigations.




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  Based on my experience and training, I am familiar with efforts used to unlawfully collect, retain,

  and disseminate sensitive government information, including classified NDI.

          5.       I make this affidavit in support of an application under Rule 41 of the Federal

  Rules of Criminal Procedure for a warrant to search the premises known as 1100 S Ocean Blvd,

  Palm Beach, FL 33480, the "PREMISES," as further described in Attachment A, for the things

  described in Attachment B.

          6.       Based upon the following facts, there is probable cause to believe that the locations

  to be searched at the PREMISES contain evidence, contraband, fruits of crime, or other items

  illegally possessed in violationof18 U.S.C. §§ 793(e), 1519,or2071.

                                       SOURCE OF EVIDENCE

          7.       The facts set forth in this affidavit are based on my personal knowledge,

  knowledge obtained during my participation in this investigation, and information obtained from

  other FBI and U.S. Government personnel. Because this affidavit is submitted for the limited

  purpose of establishing probable cause in support of the application for a search warrant, it does

  not set forth each and every fact that I, or others, have learned during the course of this

  investigation.

                          STATUTORY AUTHORITY AND DEFINITIONS

          8.       Under 18 U.S.C. § 793(e), "[w]hoever having unauthorized possession of, access

  to, or control over any document ... or information relating to the national defense which

  information the possessor has reason to believe could be used to the injury of the United States or

  to the advantage of any foreign nation, willfully communicates, delivers, transmits or causes to be

  communicated, delivered, or transmitted" or attempts to do or causes the same "to any person not

  entitled to receive it, or willfully retains the same and fails to deliver it to the officer or employee




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  of the United States entitled to receive it" shall be fined or imprisoned not more than ten years, or

  both.

          9.     Under Executive Order 13526, information in any form may be classified ifit: (1)

  is owned by, produced by or for, or is under the control of the United States Government; (2) falls

  within one or more of the categories set forth in the Executive Order [Top Secret, Secret, and

  Confidential]; and (3) is classified by an original classification authority who determines that its

  unauthorized disclosure reasonably could be expected to result in damage to the national security.

          10.    Where such unauthorized disclosure could reasonably result in damage to the

  national security, the information may be classified as "Confidential" and must be properly

  safeguarded. Where such unauthorized disclosure could reasonably result in serious damage to

  the national security, the information may be classified as "Secret" and must be properly

  safeguarded. Where such unauthorized disclosure could reasonably result in exceptionally grave

  damage to the national security, the information may be classified as "Top Secret" and must be

  properly safeguarded.

          11.    Sensitive Compartmented Information (SCI) means classified information

  concerning or derived from intelligence sources, methods, or analytical processes, which is

  required to be handled within formal access control systems.

          12.    Special Intelligence, or "SI," is an SCI control system designed to protect technical

  and intelligence information derived from the monitoring of foreign communications signals by

  other than the intended recipients. The SI control system protects SI-derived information and

  information relating to SI activities, capabilities, techniques, processes, and procedures.

          13.    HUMINT Control System, or "HCS," is an SCI control system designed to protect

  intelligence information derived from clandestine human sources, commonly referred to as




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  "human intelligence." The HCS control system protects human intelligence-derived information

  and information relating to human intelligence activities, capabilities, techniques, processes, and

  procedures.

            14.   Foreign Intelligence Surveillance Act, or "PISA," is a dissemination control

  designed to protect intelligence information derived from the collection of information authorized

  under the Foreign Intelligence Surveillance Act by the Foreign Intelligence Surveillance Court, or

  "FISC."

            15.   Classified information may be marked as "Not Releasable to Foreign

  Nationals/Governments/US Citizens," abbreviated "NOFORN," to indicate information that may

  not be released in any form to foreign governments, foreign nationals, foreign organizations, or

  non-U.S. citizens without permission of the originator.

            16.   Classified information may be marked as "Originator Controlled," abbreviated

  "ORCON." This marking indicates that dissemination beyond pre-approved U.S. entities requires

  originator approval.

            17.   Classified information of any designation may be shared only with persons

  determined by an appropriate United States Government official to be eligible for access, and who

  possess a "need to know." Among other requirements, in order for a person to obtain a security

  clearance allowing that person access to classified United States Government information, that

  person is required to and must agree to properly protect classified information by not disclosing

  such information to persons not entitled to receive it, by not unlawfully removing classified

  information from authorized storage facilities, and by not storing classified information in

  unauthorized locations. If a person is not eligible to receive classified information, classified

  information may not be disclosed to that person. In order for a foreign government to receive




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  access to classified information, the originating United States agency must determine that such

  release is appropriate.

          18.     Pmsuant to Executive Order 13526, classified information contained on automated

  information systems, including networks and telecommunications systems, that collect, create,

  communicate, compute, disseminate, process, or store classified information must be maintained

  in a manner that: (1) prevents access by unauthorized persons; and (2) ensures the integrity of the

  information.

          19.    32 C.F .R. Parts 2001 and 2003 regulate the handling of classified information.

  Specifically, 32 C.F.R. § 2001.43, titled "Storage," regulates the physical protection of classified

 information. This section prescribes that Secret and Top Secret information "shall be stored in a

  [General Services Administration]-approved security container, a vault built to Federal Standard

  (FHD STD) 832, or an open storage area constructed in accordance with§ 2001.53." It also

 requires periodic inspection of the container and the use of an Intrusion Detection System, among

 other things.

          20.    Under 18 U.S.C. § 1519:

         Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or
         makes a false entry in any record, document, or tangible object with the intent to
         impede, obstruct, or influence the investigation or proper administration of any
         matter within the jurisdiction of any department or agency of the United States or
         any case filed under title 11, or in relation to or contemplation of any such matter
         or case, shall be fined under this title, imprisoned not more than 20 years, or both.

          21.    Under 18 U.S.C. § 2071:

         (a) Whoever willfully and unlawfully conceals, removes, mutilates, obliterates, or
         destroys, or attempts to do so, or, with intent to do so takes and carries away any
         record, proceeding, map, book, paper, document, or other thing, filed or deposited
         with any clerk or officer of any court of the United States, or in any public office,
         or with any judicial or public officer of the United States, shall be fined under this
         title or imprisoned not more than three years, or both.




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       (b) Whoever, having the custody of any such record, proceeding, map, book,
       document, paper, or other thing, willfully and unlawfully conceals, removes,
       mutilates, obliterates, falsifies, or destroys the same, shall be fined under this title
       or imprisoned not more than three years, or both; and shall forfeit his office and be
       disqualified from holding any office under the United States. As used in this
       subsection, the term "office" does not include the office held by any person as a
       retired officer of the Armed Forces of the United States.

       22.     Under the PRA, 44 U.S.C. § 2201:

       (2) The term "Presidential records" means documentary materials, or any
       reasonably segregable portion thereof, created or received by the President, the
       President's immediate staff, or a unit or individual of the Executive Office of the
       President whose function is to advise or assist the President, in the course of
       conducting activities which relate to or have an effect upon the carrying out of the
       constitutional, statutory, or other official or ceremonial duties of the President.
       Such term-

              (A) includes any documentary materials relating to the political activities of
                  the President or members of the President's staff, but only if such
                  activities relate to or have a direct effect upon the carrying out of
                  constitutional, statutory, or other official or ceremonial duties of the
                  President; but

              (B) does not include any documentary materials that are (i) official records
                  ofan agency (as defined in section 552(e) of title 5, United States
                  Code; (ii) personal records; (iii) stocks of publications and stationery;
                  or (iv) extra copies of documents produced only for convenience of
                  reference, when such copies are clearly so identified.

       23.     Under 44 U.S.C. § 3301(a), government "records" are defined as:

       all recorded information, regardless of form or characteristics, made or received by
       a Federal agency under Federal law or in connection with the transaction of public
       business and preserved or appropriate for preservation by that agency or its
       legitimate successor as evidence of the organization, functions, policies, decisions,
       procedures, operations, or other activities of the United States Government or
       because of the informational value of data in them.


                                       PROBABLE CAUSE

                                           NARA Referral

        24.    On February 9, 2022, the Special Agent in Charge ofNARA's Office of the




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  Inspector General sent the NARA Referral via email to DOJ. The NARA Referral stated that

  according to NARA's White House Liaison Division Director, a preliminary review of the

  FIFTEEN BOXES indicated that they contained "newspapers, magazines, printed news articles,

  photos, miscellaneous print-outs, notes, presidential correspondence, personal and post-

  presidential records, and 'a lot of classified records.' Of most significant concern was that highly

  classified records were unfoldered, intermixed with other records, and otherwise unproperly [sic]

  identified."

          25.    On February 18, 2022, the Archivist of the United States, chief administrator for

  NARA, stated in a letter to Congress's Committee on Oversight and Reform Chairwoman The

  Honorable Carolyn B. Maloney, "NARA had ongoing communications with the representatives of

  former President Trump throughout 2021, which resulted in the transfer of 15 boxes to NARA in

  January 2022 .... NARA has identified items marked as classified national security information

  within the boxes." The letter also stated that, "[b]ecause NARA identified classified information

  in the boxes, NARA staff has been in communication with the Department of Justice." The letter

  was made publicly available at the following uniform resource locator (URL):

  https://www.archives.gov/files/foia/ferriero-response-to-02.09.2022-maloney-

  letter.02. l 8.2022.pdf. On February 18, 2022, the same day, the Save America Political Action

  Committee (PAC) posted the following statement on behalf of FPOTUS: "The National Archives

  did not 'find' anything, they were given, upon request, Presidential Records in an ordinary and

  routine process to ensure the preservation of my legacy and in accordance with the Presidential

  Records Act .... " An image of this statement is below.




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     Boxes Containing Documents Were Transported from the White House to A-far-a-Lago

        30.    According to a CBS Miami article titled ''Moving Tmcks Spotted At Mar-a-Lago,"

 published Monday, January 18, 2021, at least two moving tmcks were observed at the PREMISES

 on January 18, 2021.




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                        Provision of the Fifteen Boxes to NARA

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         39.    On or about May 6, 2021, NARA made a request for the missing PRA records and

  continued to make requests until approximately late December 2021 when NARA was informed

  twelve boxes were found and ready for retrieval at the PREMISES.




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            The FIFTEEN BOXES Provided to N4.RA Contain Classified Information

         4 7.   From May 16-18, 2022, FBI agents conducted a prelimina1y review of the

 FIFTEEN BOXES provided to NARA and identified documents with classification markings in

 fourteen of the FIFTEEN BOXES. A prelin1ina1y triage of the documents with classification

 markings revealed the following approximate numbers: 184 unique docmnents bearing

 classification markings, including 67 documents marked as CONFIDENTIAL, 92 documents

 marked as SECRET, and 25 documents marked as TOP SECRET. Fm1her, the FBI agents

 observed markings reflecting the following compa11ments/dissemination controls: HCS, FISA,

 ORCON, NOFORN, and SI. Based on my training and experience, I know that documents

 classified at these levels typically contain NDI. Several of the documents also contained what

 appears to be FPOTUS 's handwritten notes.

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                                                     In the second such letter, which is attached as

 Exhibit I, FPOTUS COUNSEL 1 asked DOJ to consider a few "principles," which include

 FPOTUS COUNSEL l's claim that a President has absolute authority to declassify documents. In

 this letter, FPOTUS COUNSEL 1 requested, among other things, that "DOJ provide this letter to

 any judicial officer who is asked to rule on any motion pertaining to this investigation, or on any

 application made in com1ection with any investigative request concerning this investigation."

         53.    I am aware of an at1icle published in Breitbart on May 5, 2022, available at

 https://www.breitbart.comvoliticsi2022i05/05/documents-mar-a-lago-marked-classified-were-

 ah-eadv-declassifi.ed-kash-patel-savs/, which states that Kash Patel, who is desc1ibed as a former

 top FPOTUS administration official, characterized as ''misleading" repo11s in other news

 organizations that NARA had fol111d classified mate1ials among records that FPOTUS provided to

 NARA from Mar-a-Lago. Patel alleged that such repot1s were misleading because FPOTUS had

 declassified the materials at issue.




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           59.




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           61.      On June 8, 2022, DOJ COUNSEL sent FPOTUS COUNSEL 1 a letter, which

 reiterated that the PREMISES are not autho1ized to store classified info1mation and requested the

 preservation of the STORAGE ROOM and boxes that had been moved from the White House to

 the PREMISES. Specifically, the letter stated in relevant part:

           As I previously indicated to you, Mar-a-Lago does not include a secure location
           authorized for the storage of classified inf01mation. As such, it appears that since the time
           classified documents                                                       were removed
           from the secure facilities at the White House and moved to Mar-a-Lago on or around
           Januaiy 20, 2021, they have not been handled in au approp1iate manner or stored in au
           appropriate location. Accordingly, we ask that the room at Mar-a-Lago where the
           documents had been stored be secured and that all of the boxes that were moved from the
           White House to Mar-a-Lago (along with any other items in that room) be preserved in that
           room in their cunent condition lmtil farther notice.



  2 18 U.S.C. § 793(e) does not use the tem1 "classified information.'' but rather criminalizes the wtlawful retention of
  "information relating to the national defense." The statute does not define "i.11fom1ation related to the national
  defense." but courts have construed it broadly. See Gorin, .. United States. 312 U.S. 19. 28 (1941) (holding that the
  phrase •'information relating to the national defense" as used in the Espionage Act is a "generic concept of broad
  connotations. refen-ing to the military and na\·al establishments and the related activities of national preparedness").
  fo addition. the information must be "closely held" by the U.S. government. See United States, .. Squil/acote. 221
  F.3d 542, 579 (4th Cir. 2000) (''[I]nfonnation made public by the go\·emment as well as infonnation never protected
  by the govemment is not national defense infom1ation."); United States, .. Morison. 844 F.2d 1057, 1071-72 (4th Cir.
  1988). Certain courts have also held that the disclosure of the documents must be potentially damaging to the United
  States. SeeM01ison, 844 F.2d at 1071-72.




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 On June 9, 2022, FPOTUS COUNSEL 1 sent an email to DOJ COUNSEL stating, ''I write to

 acknowledge receipt of this letter."




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       Tllere is Probable Cause to Believe Tllat Documents Co11taini11g Classified ND/ and
                           Preside111ial Records Remain at tile Premises

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         77.    Based upon this investigation, I believe that the STORAGE ROOM, FPOTUS's

 residential suite, Pine Hall, the "45 Office," and other spaces within the PREMISES are not

 cunently authorized locations for the storage of classified information or NDI. Similarly, based

 upon this investigation, I do not believe that any spaces within the PRE1,1ISES have been

 authorized for the storage of classified information at least since the end of FPOTUS 's

 Presidential Administration on January 20, 2021.

         78.    As described above, evidence of the SUBJECT OFFENSES has been stored in

 multiple locations at the PREMISES.




 Accordingly, this affidavit seeks authorization to search the "45 Office" and all storage rooms and




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  any other rooms or locations where boxes or records may be stored within the PREMISES, as

  further described in Attachment A. The PREMISES is currently closed to club members for the

  summer; however, as specified in Attachment A, if at the time of the search, there are areas of the

  PREMISES being occupied, rented, or used by third parties, and not otherwise used or available

 to be used by FPOTUS and his staff, the search would not include such areas.



                                          CONCLUSION

          79.    Based on the foregoing facts and circumstances, I submit that probable cause exists

 to believe that evidence, contraband, fruits of crime, or other items illegally possessed in violation

  18 U.S.C. §§ 793(e), 2071, or 1519 will be found at the PREMISES. Further, I submit that this

  affidavit supports probable cause for a warrant to search the PREMISES described in Attachment

 A and seize the items described in Attachment B.

                                    REQUEST FOR SEALING

         80.     It is respectfully requested that this Court issue an order sealing, until further order

  of the Court, all papers submitted in support of this application, including the application and

  search warrant. I believe that sealing this document is necessary because the items and

  information to be seized are relevant to an ongoing investigation and the FBI has not yet identified

  all potential criminal confederates nor located all evidence related to its investigation. Premature

  disclosure of the contents of this affidavit and related documents may have a significant and

  negative impact on the continuing investigation and may severely jeopardize its effectiveness by

  allowing criminal parties an opportunity to flee, destroy evidence (stored electronically and

  otherwise), change patterns of behavior, and notify criminal confederates.




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       SEARCH PROCEDURES FOR HANDLING POTENTIAL ATTORNEY-CLIENT
                       PRIVILEGED INFORMATION

         The following procedures will be followed at the time of the search in order to protect

  against disclosures of attorney-client privileged material:

          81.      These procedures will be executed by: (a) law enforcement personnel conducting

  this investigation (the "Case Team"); and (b) law enforcement personnel not participating in the

  investigation of the matter, who will search the "45 Office" and be available to assist in the event

  that a procedure involving potentially attorney-client privileged information is required (the

  "Privilege Review Team").

         82.       The Case Team will be responsible for searching the TARGET PREMISES.

  However, the Privilege Review Team will search the "45 Office" and conduct a review of the seized

  materials from the "45 Office" to identify and segregate documents or data containing potentially

  attorney-client privileged information.

         83.       If the Privilege Review Team determines the documents or data are not potentially

  attorney-client privileged, they will be provided to the law-enforcement personnel assigned to the

  investigation.    If at any point the law-enforcement personnel assigned to the investigation

  subsequently identify any data or documents that they consider may be potentially attorney-client

  privileged, they will cease the review of such identified data or documents and refer the materials

  to the Privilege Review Team for further review by the Privilege Review Team.

          84.      If the Privilege Review Team determines that documents are potentially attorney-

  client privileged or merit further consideration in that regard, a Privilege Review Team attorney

  may do any of the following: (a) apply ex parte to the court for a determination whether or not the

  documents contain attorney-client privileged material; (b) defer seeking court intervention and




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 continue to keep the documents inaccessible to law-enforcement personnel assigned to the

 investigation; or (c) disclose the documents to the potential p1ivilege holder, request the privilege

 holder to state whether the potential privilege holder asserts attorney-client privilege as to any

 documents, including requesting a particularized privilege log, and seek a mling from the comi

 regarding any attorney-client privilege claims as to which the P1ivilege Review Team and the

 privilege-holder cannot reach agreement.




                                                      Respectfully submitted,




                                                      Special Agent
                                                      Federal Bm·eau of Investigation

 Subscribed and sworn before me by
 telephone (Wh~sApp) or other reliable electronic
 means this _5_ day o , . ISt, 2022:




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                                      A Limited Liability Company
                                                                                                         Writer's Direct Contact:
                                     400 East Pratt Street - Suite 900
                                                                                                                     Evan Corcoran
                                     Baltimore, Maryland 2 1 2 0 2

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     ATTORNEYS AT L4.W


                                                     May 25, 2022

    Via Electronic Mail

   Jay I. Bratt, Esquire
   Chief
   Counterintelligence & Expmi Control Section
   National Security Division
   US. Department of Justice
   950 Pennsylvania, Avenue, N.W.
   Washington, D.C. 20530

                   Re:     Presidential Records Investigation

   Dear Jay:

   I write on behalf of President Donald J. Trump regarding the above-referenced matter.

   Public trust in the government is low. At such times, adherence to the rules and long-standing
   policies is essential. President Donald J. Trump is a leader of the Republican Party. The
   Department of Justice (DOJ), as part of the Executive Branch, is under the control of a President
   from the opposite party. It is critical, given that dynamic, that every effort is made to ensure that
   actions by DOJ that may touch upon the former President, or his close associates, do not involve
   politics.

   There have been public reports about an investigation by DOJ into Presidential Records
   purportedly marked as classified among materials that were once in the White House and
   unknowingly included among the boxes brought to Mar-a-Lago by the movers. It is important to
   emphasize that when a request was made for the documents by the National Archives and Records
   Administration (NARA), President Trump readily and voluntarily agreed to their transfer to
   NARA. The communications regarding the transfer of boxes to NARA were friendly, open, and
   straightforward. President Trump voluntarily ordered that the boxes be provided to NARA. No
   legal objection was asserted about the transfer. No concerns were raised about the contents of the
   boxes. It was a voluntary and open process.

    Unfortunately, the good faith demonstrated by President Trump was not matched once the boxes
    arrived at NARA. Leaks followed. And, once DOJ got involved, the leaks continued. Leaks about
    any investigation are concerning. Leaks about an investigation that involve the residence of a
    former President who is still active on the national political scene are particularly troubling.
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   It is important to note a few bedrock principles:

          (1) A President Has Absolute Authority To Declassify Documents.

   Under the U.S. Constitution, the President is vested with the highest level of authority when it
   comes to the classification and declassification of documents. See U.S. Const., Art. II, § 2 ("The
   President [is] Commander in Chief of the Army and Navy of the United States[.]"). His
   constitutionally-based authority regarding the classification and declassification of documents is
   unfettered. See Navy v. Egan, 484 U.S. 518, 527 (1988) ("[The President's] authority to classify
   and control access to information bearing on national security ... flows primarily from this
   constitutional investment of power in the President and exists quite apart from any explicit
   congressional grant.").

          (2) Presidential Actions Involving Classified Documents Are Not Subject To Criminal
              Sanction.

   Any attempt to impose criminal liability on a President or former President that involves his actions
   with respect to documents marked classified would implicate grave constitutional separation-of-
   powers issues. Beyond that, the primary criminal statute that governs the unauthorized removal
   and retention of classified documents or material does not apply to the President. That statute
   provides, in pertinent part, as follows:

                  Whoever, being an officer, employee, contractor, or consultant of
                  the United States, and, by virtue of his office, employment, position,
                  or contract, becomes possessed of documents or materials
                  containing classified information of the United States, knowingly
                  removes such documents or materials without authority and with the
                  intent to retain such documents or materials at an unauthorized
                  location shall be fined under this title or imprisoned for not more
                  than five years, or both.

   18 U.S.C. § 1924(a). An element of this offense, which the government must prove beyond a
   reasonable doubt, is that the accused is "an officer, employee, contractor, or consultant of the
   United States." The President is none of these. See Free Enter. Fund v. Pub. Co. Acct. Oversight
   Bd., 561 U.S. 477, 497-98 (2010) (citing U.S. Const., Art. II,§ 2, cl. 2) ("The people do not vote
   for the 'Officers of the United States."'); see also Melcher v. Fed. Open Mkt. Comm., 644 F. Supp.
   510, 518-19 (D.D.C. 1986), aff'd, 836 F.2d 561 (D.C. Cir. 1987) ("[a]n officer of the United States
   can only be appointed by the President, by and with the advice and consent of the Senate, or by a
   court of law, or the head of a department. A person who does not derive his position from one of
   these sources is not an officer of the United States in the sense of the Constitution."). Thus, the
   statute does not apply to acts by a President.



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            (3) DOJ Must Be Insulated From Political Influence.

    According to the Inspector General ofDOJ, one of the top challenges facing the Department is the
    public perception that DOJ is influenced by politics. The report found that "[o]ne important
    strategy that can build public trust in the Department is to ensure adherence to policies and
    procedures designed to protect DOJ from accusations of political influence or partial application
    of the law." See https://oig.justice.gov/reports/top-management-and-performance-challenges-
    facing-depatiment-justice-2021 (last visited May 25, 2022). We request that DOJ adhere to long-
    standing policies and procedures regarding communications between DOJ and the White House
    regarding pending investigative matters which are designed to prevent political influence in DOJ
    decision-making.

           (4) DOJ Must Be Candid With Judges And Present Exculpatory Evidence.

    Long-standing DOJ policy requires that DOJ attorneys be candid in representations made to
    judges. Pursuant to those policies, we request that DOJ provide this letter to any judicial officer
    who is asked to rule on any motion pertaining to this investigation, or on any application made in
    connection with any investigative request concerning this investigation.

    The official policy ofDOJ further requires that prosecutors present exculpatory evidence to a grand
    jury. Pursuant to that policy, we request that DOJ provide this letter to any grand jury considering
    evidence in connection with this matter, or any grand jury asked to issue a subpoena for testimony
    or documents in connection with this matter.

    Thank you for your attention to this request.

                                  With best regards,


                                   ~4..-M-
                                  M. Evan Corcoran


    cc:    Matthew G. Olsen
           Assistant Attorney General
           National Security Division
           Via Electronic Mail




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                                          ATTACHMENT A

                                        Property to be searched

          The premises to be searched, 1100 S Ocean Blvd, Palm Beach, FL 33480, is further

  described as a resort, club, and residence located near the intersection of Southern Blvd and S

  Ocean Blvd. It is described as a mansion with approximately 58 bedrooms, 33 bathrooms, on a

  17-acre estate. The locations to be searched include the "45 Office," all storage rooms, and all

  other rooms or areas within the premises used or available to be used by FPOTUS and his staff

  and in which boxes or documents could be stored, including all structures or buildings on the

  estate. It does not include areas currently (i.e., at the time of the search) being occupied, rented,

  or used by third parties (such as Mar-a-Largo Members) and not otherwise used or available to be

  used by FPOTUS and his staff, such as private guest suites.
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                                          ATTACHMENT B

                                         Property to be seized

         All physical documents and records constituting evidence, contraband, fruits of crime, or

  other items illegally possessed in violation of 18 U.S.C. §§ 793, 2071, or 1519, including the

  following:

                 a. Any physical documents with classification markings, along with any

  containers/boxes (including any other contents) in which such documents are located, as

  well as any other containers/boxes that are collectively stored or found together with the

  aforementioned documents and containers/boxes;

                 b. Information, including communications in any form, regarding the

  retrieval, storage, or transmission of national defense information or classified material;

                 c. Any government and/or Presidential Records created between January

  20, 2017, and January 20, 2021; or

                 d. Any evidence of the knowing alteration, destruction, or concealment of

  any government and/or Presidential Records, or of any documents with classification

  markings.
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                                       CASE NO. 22-MJ-8332-BER

       IN RE SEALED SEARCH WARRANT
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       _ _ _ _ _ _ _ _ _ _ _ _ _!


       UNITED STATES' SEALED, EX PARTEMEMORANDVM OF LAW REGARDING
                            PROPOSED REDACTIONS


              Pursuant to this Court's August 18 and August 22, 2022 orders, the United States

       respectfully submits this sealed, ex parte memorandum of law setting forth the justifications

       for its proposed redactions to the affidavit submitted to the Court on August 5, 2022, in

      · support of the government's application for a search warrant at a property of former President

       Donald J. Trump.     See Docket Entries ("D.E. ") 1, 74, 80. For the reasons explained below,

       the materials the government marked for redaction in the attached document must remain

       sealed to protect the safety and privacy of a significant number of civilian witnesses, in

      . addition to law enforcement personnel, as well as to protect the integrity of the ongoing

       investigation and to avoid disclosure of grand jury material in violation of the Federal Rules

       of Criminal Procedure.

                                          Procedural Background

              On August 8, 2022, the Department of Justice executed a search warrant, issued by

       this Court upon the requisite finding of probable cause, at the premises located at I 100 S.

       Ocean Blvd., Palm Beach, Florida 33480, a property of former President Trump. Given the

       circumstances presented in this matter and the public interest in transparency, and in the wake
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              The Court found that disclosure of the Affidavit would likely result in witnesses being

       "quickly and broadly identified over social media and other communication channels, which

       could lead to them being harassed and intimidated.''            Id. at 9.   The Court gave "great

       weight" to "the significant likelihood that unsealing the Affidavit would harm legitimate

       privacy interests," with disclosures potentially serving to "impede the ongoing investigation

      . through obstruction of justice and witness intimidation or retaliation." Id. at 9-10. And the

       Court found that the Affidavit contains "critically important and detailed investigative facts:

       highly sensitive information about witnesses . . . ; specific investigative techniques; and

       information required to be kept under seal pursuant to Federal Rule of Criminal Procedure

       6(e)," the disclosure of which "would detrimentally affect this investigation and future

       investigations." Id. at I 0. However, noting that the warrant involves "matters of significant

       public concern," id., the Court concluded that "the present record'' does not "justif1y] keeping

       the entire Affidavit under seal," id. at 13 (emphasis added).

                                                    Argument

                             The Redacted Materials Must Remain Under Seal

              As the Court has found, "(p]rotecting the integrity and secrecy of an ongoing criminal

       investigation is a well-recognized compelling governmental interest." D .E. 80 at 6 (citing,

       interalia, United States v. Valenti, 986 F.2d 708, 714 (11th Cir. 1993)).      Indeed, "[a]t the pre-

      . indictment stage, the Government's need to conceal the scope and direction of its

       investigation, as well as its investigative sources and methods, is at its zenith."       D.E. 80 at

       7-8 (citing Blalock v. United States, 844 F.2d 1546, 1550 n.5 (I I th Cir. I 988)).   Counsel for the

       Intervenors have also acknowledged that certain portions of the affidavit must likely remain

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       of the former President's public confirmation of the search and his representatives' public

       characterizations of the materials sought, the government moved to unseal the search

       wanant, its attachments, and the Property Receipt summarizing materials seized, and this

       Court granted the government's motion. D.E. 18, 41.

              A number of news media organizations and other entities (the "Intervenors") have

       filed motions to unseal these and other materials associated with the search warrant, including

       the affidavit. The government submitted its omnibus response to those motions on August

     · 15, 2022. D.E. 59. The Court conducted a hearing on August 18, 2022, at the conclusion

       of which the Court directed the government to file under seal its proposed redactions to the

       affidavit and a legal memorandum setting forth the justifications for the proposed redactions. 1

       D.E. 74.

              In a subsequent order, the Court noted that the government "has met its burden of

       showing good cause/a compelling interest that overrides any public interest in unsealing the

       full contents of the Affidavit." D.E. 80 at 12. In that order, the Court observed that the

       obstruction and threat concerns raised by the government were "not hypothetical in this

       case." Id. at 8. In particular, the Court cited its prior finding of probable cause that a statute

       prohibiting obstruction of justice has been violated, and further relied upon the post-search

       increase in specific threats of violence to identified FBI agents, overall violent threats to FBI

       personnel, and the armed attack on the FBI office in Cincinnati. Id. at 8-9.



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         Based on the government's and the Intervenors' agreement that certain additional
       documents (namely, the government's motion to seal, the Court's sealing order, and two
       cover sheets) could be publicly released with minor redactions to protect government
       personnel, the Court also ordered those documents released. D.E. 74.
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       under seal to protect information such as witness identities and investigative sources and

       methods.    Hrg. Tr. at 35.

              The government has carefully reviewed the affidavit and has identified five categories

       of information that must remain under seal in order to protect the safety of multiple civilian

       witnesses whose information was included throughout the affidavit and contributed to the

       finding of probable cause, as well as the integrity of the ongoing investigation.        In the

       attached chart, the government has identified each category that applies to information the

       government proposes to redact.      Some information falls within more than one category.

       The categories, described further below, are (1) information from a broad range of civilian

       witnesses who may be subject to "witness intimidation or retaliation," D.E. 80 at 9; (2)

       information regarding investigative avenues and techniques that could provide a roadmap for

      · potential ways to obstruct the investigation, id. at 9-1 0; (3) information whose disclosure is

       prohibited under Rule 6(e) of the Federal Rules of Criminal Procedure ("Rule 6(e)"), such as

       grand jury subpoenas, testimony, and related material, id. at 10; (4) information whose

       disclosure could risk the safety of law enforcement personnel, id. at 9; and (5) information

      . whose disclosure could harm "legitimate privacy interests" of third parties, id.

           1. Witness Information

              First and foremost, the government must protect the identity of witnesses at this stage

       of the investigation to ensure their safety. As this Court noted, if information relating to

       witnesses were disclosed, "it is likely that even witnesses who are not expressly named in the

       Affidavit would be quickly and broadly identified over social media and other communication

       channels, which could lead to them being harassed and intimidated." D.E. 80 at 9.       See also,


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       e.g., Douglas Oil Co. ofCal. v. Petrol Stops Nw., 441 U.S. 211, 219 (1979) (describing the risk that

       "prospective witnesses would be hesitant to come forward voluntarily, knowing that those

       against whom they testify would be aware of that testimony"); United Stares v. Steinger, 626 F.




                                                                             -
       Supp. 2d 123 l, 1235 (S.D. Fla. 2009) (similar).



                                                                                          Information in

       the affidavit could be used to identify many, if not all, of these witnesses.    For   example, ■




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                                                                                              -
      -       If witnesses' identities are exposed, they could be subjected to harms including

       retaliation, intimidation, or harassment, and even threats to their physical safety.   As the

      · Court has already noted, "these concerns are not hypothetical in this case."   D.E. 80 at 8.




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                                       Meanwhile, FBI agents who have been publicly identified in

       connection with this investigation have received repeated threats of violence from members

     · of the public.    Exposure of witnesses' identities would likely erode their trust in the

       government's investigation, and it would almost certainly chill other potential witnesses from

       coming forward in this investigation and others.

          2. Investigation "Road Map"

              As Judge Jordan explained in Steinger, if details about an ongoing investigation are

       prematurely disclosed, such disclosures "would compromise the investigation and might also

     . lead to the destruction of evidence."   626 F. Supp. 2d at 1235 (citing Douglas Oil Co., 441

      U.S. at 218-19); see also, e.g., Patel v. United States, No. 9:l 9-MC-81181, 2019 WL 4251269, at

      *5 (S.D. Fla. Sept. 9, 20 I 9) (agreeing with the government that disclosure of information

      "would severely prejudice" its investigation, including by "prematurely disclosing its scope

      and direction, subjects, and potential witnesses, and could result in the destruction of

      evidence"); D.E. 80 at 9-10 (disclosure of investigative "sources and methods" "would

      detrimentally affect this investigation and future investigations").

              Although the public is now aware that the government executed a search warrant at

      the premises owned by the former President and seized documents marked as classified, the

      affidavit is replete with further details that would provide a roadmap for anyone intent on

      obstructing the investigation.    "Maximizing the Government's access to untainted facts

     · increases its ability to make a fully-informed prosecutive decision."   D .E. 80 at 8.

              For example,


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       -

       Revealing this information could thus adversely impact the government's pursuit ofrelevant

       evidence. 2

              In addition, revealing this information could severely disadvantage the government as




                                                                         ---
       it seeks further information from witnesses.    For example,




       2
          Additionally, the Court has noted that disclosure of certain information pertaining to
       physical aspects of the premises could negatively affect the Secret Service's ability to carry out
       its protective functions. D.E. 80 at 10. Although the Department of Justice is not in a
       position at this time to assess those potential harms, the information in the affidavit describing
       physical aspects of the premises fits within the category of information whose disclosure
       would provide a "road map" of investigative techniques and avenues,

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              These concerns arc particularly compelling in this case.    As explained in the affidavit,




                                           ■--




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       short, the government has well-founded concerns that steps may be taken to frustrate or

       otherwise interfere with this investigation if facts in the affidavit were prematurely disclosed.


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           3. Rule 6(e)

              The affidavit contains certain information that must be kept under seal pursuant to

       Federal Rule of Criminal Procedure 6(e) because it may disclose "a matter occurring before

       the grand jury."    Although "Rule 6(e) does not draw a veil of secrecy over all matters

       occurring in the world that happen to be investigated by a grand jury," it bars disclosure of

       information that "would reveal something about the grand jury's identity, investigation, or

       deliberation."   Labow v. U.S. Dep't of Justice, 831 F.3d 523, 529 (D.C. Cir. 2016) (internal

                               3
      · quotations omitted).



               ...
       -■
     ·-   4. Safety of Law Enforcement Personnel

              Minor but important redactions are necessary to protect the safety oflaw enforcement




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      • personnel.        See D.E. 80 at 3 (redactions in other materials "are appropriate to protect the

       identity and personal safety of' an investigative agent).            Specifically, information in the

      . affidavit that would identify the affiant, such as by name or through biographical information,

       see Aff.   i1 4,   should remain under seal.




           5. Privacy Interests                         ·-
                  As the Supreme Court has long recognized, premature disclosure of investigative

       information creates a risk that "persons who are accused but exonerated" may be "held up to

       public ridicule."        Douglas Oil Co., 441 U.S. at 219; see also, e.g., Steinger, 626 F. Supp. 2d at

       1235 (disclosure of names of subjects and of matters being investigated "could have

       devastating consequences for those persons who have been cleared of any misconduct, as well

       as for those still under investigation"). 4          The government recognizes that the former

       President has spoken publicly about this investigation and has said in a public statement that

      · he wishes for the affidavit to be disclosed in its entirety, although the Court has noted that

       "[nleither Former President Trump nor anyone else purporting to be the owner of the

       Premises has filed a pleading taking a position on the Intervenors' Motion to Unseal. " 5         D.E.


        " Protecting the identities of uncharged individuals is also consistent with government
      . counsel's professional responsibilities. See Justice Manual § 9-27.760 ("Limitation on
        Identifying Uncharged Third-Parties Publicly").
       5
         See Perry Stein & Josh Dawsey, "Trump Wants Mar-a-Lago Affidavit Released, As Some
       Aides     Ponder     Risk,"  Washiniton    Post   (Aug. 17,   2022),    available  at
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         80 at 1-2.   Nevertheless, the affidavit contains additional information about others that could

         harm these individuals' privacy and reputational interests if disclosed.

                 For example,




         -                                                                                      -··

     I
                                                    Conclusion

                For the reasons stated herein, the Court should maintain under seal the text the

         government has marked for redaction. The government defers to the Court to determine

         whether the redactions are "so extensive that" release of the remainder of the affidavit would

         ··result in a meaningless disclosure." D.E. 80 at 12. Should the Court order disclosure of a

         redacted version of the affidavit, and if the Court agrees with the government's proposed

         redactions, the government will submit a final version of the redacted affidavit for public

         release.

                 In the interest of transparency, as well as the principle that limitations on public access




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       to judicial proceedings should be "narrowly tailored," Globe Newspaper Co. v. Superior Court,

       457 U.S. 596, 607 (1982), the government respectfully submits that certain portions of this

       filing may be unsealed, including the introductory segment up through the first two

       paragraphs in the Argument section on page 4, as well as certain text in the sections that

       follow describing relevant provisions of law. The government will submit a version of this

       filing that identifies the portions that can be publicly filed, along with its proposed redactions,

       forthwith. And with the Court's permission, the government will confer with counsel for the

       former President as to whether counsel or the former President has any objection to unsealing

       the letter from counsel included as Exhibit 1 to the affidavit. Absent any such objection, the

     . government supports unsealing the letter.

                                                            Respectfully submitted,


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                                                            99 NE 4th Street, 8th Floor
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                                                             Is Jay!. Bratt
                                                            JAY!. BRATT
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                                     ATTACHMENT


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                                 Attachment 3

           Redacted Public Underlying Application Materials
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                                                                                     FILED B
                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA
                                                                                            SEP O9 2022
                                                                                            ANGELA E. NOBLE
                                                                                           CLERK U.S . DIST. CT.
   IN THE MATTER OF THE SEARCH OF:                       )                                 S.D. OF FLA. - W.P.8.
                                                         )      Case No.
   LOCATIONS WITHIN THE PREMISES                         )
   TO BE SEARCHED IN ATTACHMENT A                        )      Filed U oder Seal


                                AFFIDAVIT IN SUPPORT OF AN
                              APPLICATION UNDER RULE 41 FOR A
                               WARRANT TO SEARCH AND SEIZE

               I,                 , being first duly sworn, hereby depose and state as follows:

                          INTRODUCTION AND AGENT BACKGROUND

          1.        The government is conducting a criminal investigation concerning the improper

  removal and storage of classified information in unauthorized spaces, as well as the unlawful

  concealment or removal of government records. The investigation began as a result of a refen-al

  the United States National Archives and Records Administration (NARA) sent to the United

  States Department of Justice (DOJ) on February 9, 2022, hereinafter, "NARA Referral." The

  NARA Referral stated that on January 18, 2022, in accordance with the Presidential Records Act

  (PRA), NARA received from the office of former President DONALD J. TRUMP, hereinafter

  "FPOTUS," via representatives, fifteen ( 15) boxes of records, hereinafter, the "FIFTEEN

  BOXES." The FIFTEEN BOXES, which had been transported from the FPOTUS property at

  1100 S Ocean Blvd, Palm Beach, FL 33480, hereinafter, the "PREMISES," a residence and club

  known as "Mar-a-Lago," further described in Attachment A, were reported by NARA to contain,

  among other things, highly classified documents intermingled with other records.

          2.        After an initial review of the NARA Referral, the Federal Bureau oflnvestigation

  (FBI) opened a criminal investigation to, among other things, determine how the documents with
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  classification markings and records were removed from the White House (or any other authorized

  location(s) for the storage of classified materials) and came to be stored at the PREMISES;

  determine whether the storage location(s) at the PREMISES were authorized locations for the

  storage of classified information; dete1mine whether any additional classified docwnents or

  records may have been stored in an unauthorized location at the PREMISES or another unknown

  location, and whether they remain at any such location; and identify any person(s) who may have

  removed or retained classified information without authorization and/or in an unauthorized space.

          3.        The FBI's investigation has established that documents bearing classification

  markings, which appear to contain National Defense Information (NDI), were among the

  materials contained in the FIFTEEN BOXES and were stored at the PREMISES in an

  unauthorized location. Since the FIFTEEN BOXES were provided to NARA, additional

  documents bearing classification markings, which appear to contain NDI and were stored at the

  PREMISES in an unauthorized location, have been produced to the government in response to a

  grand jury subpoena directed to FPOTUS' s post-presidential office and seeking documents

  containing classification markings stored at the PREMISES and otherwise under FPOTUS's

  control. Further, there is probable cause to believe that additional documents that contain

  classified NDI or that are Presidential records subject to record retention requirements currently

  remain at the PREMISES . There is also probable cause to believe that evidence of obstruction

  will be found at the PREMISES.

          4.        I am a Special Agent with the FBI assigned to the Washington Field Office

                                                           . During this time, I have received training

  at the FBI Academy located at Quantico, Virginia, specific to counterintelligence and espionage

  investigations.




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  Based on my experience and training, I am fami liar with efforts used to unlawfully collect, retain,

  and disseminate sensitive government information, including classified NDI.

          5.       I make this affidavit in support of an application under Rule 41 of the Federal

  Rules of Criminal Procedure for a warrant to search the premises known as 1100 S Ocean Blvd,

  Palm Beach, FL 33480, the "PREMISES," as further described i_n Attachment A, for the things

  described in Attachment B.

          6.       Based upon the following facts, there is probable cause to believe that the locations

  to be searched at the PREMISES contain evidence, contraband, fruits of crime, or other items

  illegally possessed in violation of 18 U.S .C. §§ 793 (e ), 1519, or 2071.

                                       SOURCE OF EVIDENCE

          7.       The facts set forth in this affidavit are based on my personal knowledge,

  knowledge obtained during my participation in this investigation, and information obtained from

  other FBI and U.S. Government personnel. Because this affidavit is submitted for the limited

  purpose of establishing probable cause in support of the application for a search warrant, it does

  not set forth each and every fact that I, or others, have learned during the course of this

  investigation.

                          STATUTORY AUTHORITY AND DEFINITIONS

          8.       Under 18 U.S.C. § 793(e) , " [w]hoever having unauthorized possession of, access

  to, or control over any docwnent .. . or information relating to the national defense which

  information the possessor has reason to believe could be used to the injury of the United States or

  to the advantage of any foreign nation, willfully communicates, delivers, transmits or causes to be

  communicated, delivered, or transmitted" or attempts to do or causes the same "to any person not

  entitled to receive it, or willfully retains the same and fails to deliver it to the officer or employee




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  of the United States entitled to receive it" shall be fined or imprisoned not more than ten years, or

  both.

          9.     Under Executive Order 13526, information in any fonn may be classified if it: (1)

  is owned by, produced by or for, or is under the control of the United States Government; (2) falls

  within one or more of the categories set forth in the Executive Order [Top Secret, Secret, and

  Confidential]; and (3) is classified by an original classification authority who determines that its

  unauthorized disclosure reasonably could be expected to result in damage to the national security.

          10.    Where such unauthorized disclosure could reasonably result in damage to the

  national security, the information may be classified as "Confidential" and must be properly

  safeguarded. Where such unauthorized disclosure could reasonably result in serious damage to

  the national security, the information may be classified as "Secret" and must be properly

  safeguarded. Where such unauthorized disclosure could reasonably result in exceptionally grave

  damage to the national security, the information may be classified as "Top Secret" and must be

  properly safeguarded.

          11.    Sensitive Compartmented Information (SCI) means classified information

  concerning or derived from intelligence sources, methods, or analytical processes, which is

  required to be handled within formal access control systems.

          12.    Special Intelligence, or " SI," is an SCI control system designed to protect technical

  and intelligence information derived from the monitoring of foreign communications signals by

  other than the intended recipients. The SI control system protects SI-derived information and

  information relating to SI activities, capabilities, techniques, processes, and procedures.

          13.    HUMINT Control System, or "HCS," is an SCI control system designed to protect

  intelligence information derived from clandestine human sources, commonly referred to as




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  "human intelligence." The HCS control system protects human intelligence-derived information

  and information relating to human intelligence activities, capabilities, techniques, processes, and

  procedures.

            14.   Foreign Intelligence Surveillance Act, or "FISA," is a dissemination control

  designed to protect intelligence information derived from the collection of information authorized

  under the Foreign Intelligence Surveillance Act by the Foreign Intelligence Surveillance Court, or

  "FISC."

            15.   Classified information may be marked as "Not Releasable to Foreign

  Nationals/Governments/US Citizens," abbreviated "NOFORN," to indicate information that may

  not be released in any form to foreign governments, foreign nationals, foreign organizations, or

  non-U.S. citizens without permission of the originator.

            16.   Classified information may be marked as "Originator Controlled," abbreviated

  "ORCO ." This marking indicates that dissemination beyond pre-approved U.S. entities requires

  originator approval.

            17.   Classified information of any designation may be shared only with persons

  determined by an appropriate United States Government official to be eligible for access, and who

  possess a "need to know." Among other requirements, in order for a person to obtain a security

  clearance allowing that person access to classified United States Government information, that

  person is required to and must agree to properly protect classified information by not disclosing

  such information to persons not entitled to receive it, by not unlawfully removing classified

  information from authorized storage facilities , and by not storing classified infonnation in

  unauthorized locations. If a person is not eligible to receive classified information, classified

  information may not be disclosed to that person. In order for a foreign government to receive




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  access to classified information, the originating United States agency must determine that such

  release is appropriate.

          18.     Pursuant to Executive Order 13526, classified information contained on automated

  information systems, including networks and telecommunications systems, that collect, create,

  communicate, compute, disseminate, process, or store classified information must be maintained

  in a manner that: (1) prevents access by unauthorized persons; and (2) ensures the integrity of the

  information.

          19.     32 C.F.R. Parts 2001 and 2003 regulate the handling of classified information.

  Specifically, 32 C.F.R. § 2001.43, titled "Storage," regulates the physical protection of classified

  information. This section prescribes that Secret and Top Secret information "shall be stored in a

  [General Services Administration] -approved security container, a vault built to Federal Standard

  (FHD STD) 83 2, or an open storage area constructed in accordance with§ 2001.5 3." It also

  requires periodic inspection of the container and the use of an Intrusion Detection System, among

  other things.

          20.     Under 18 U.S.C. § 1519:

         Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or
         makes a false entry in any record, document, or tangible object with the intent to
         impede, obstruct, or influence the investigation or proper administration of any
         matter within the jurisdiction of any department or agency of the United States or
         any case filed under title 11 , or in relation to or contemplation of any such matter
         or case, shall be fined under this title, imprisoned not more than 20 years, or both.

          2 1.    Under 18 U.S.C. § 2071:

         (a) Whoever willfully and unlawfully conceals, removes, mutilates, obliterates, or
         destroys, or attempts to do so, or, with intent to do so takes and can-ies away any
         record, proceeding, map, book, paper, document, or other thing, filed or deposited
         with any clerk or officer of any court of the United States, or in any public office,
         or with any judicial or public officer of the United States, shall be fined under this
         title or imprisoned not more than three years, or both.




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        (b) Whoever, having the custody of any such record, proceeding, map, book,
        document, paper, or other thing, willfully and unlawfully conceals, removes,
        mutilates, obliterates, falsifies, or destroys the same, shall be fined under this title
        or imprisoned not more than three years, or both; and shall forfeit his office and be
        disqualified from holding any office under the United States. As used in this
        subsection, the term "office" does not include the office held by any person as a
        retired officer of the Armed Forces of the United States.

        22.    Under the PRA, 44 U.S.C. § 2201:

        (2) The term "Presidential records" means documentary materials, or any
        reasonably segregable portion thereof, created or received by the President, the
        President's immediate staff, or a unit or individual of the Executive Office of the
        President whose function is to advise or assist the President, in the course of
        conducting activities which relate to or have an effect upon the carrying out of the
        constitutional, statutory, or other official or ceremonial duties of the President.
        Such term-

               (A) includes any documentary materials relating to the political activities of
                   the President or members of the President's staff, but only if such
                   activities relate to or have a direct effect upon the carrying out of
                   constitutional, statutory, or other official or ceremonial duties of the
                   President; but

               (B) does not include any documentary materials that are (i) official records
                   of an agency (as defined in section 552(e) of title 5, United States
                   Code; (ii) personal records; (iii) stocks of publications and stationery;
                   or (iv) extra copies of documents produced only for convenience of
                   reference, when such copies are clearly so identified.

        23.     Under 44 U.S.C. § 3301(a), government "records" are defined as:

        all recorded infonnation, regardless of form or characteristics, made or received by
        a Federal agency under Federal law or in connection with the transaction of public
        business and preserved or appropriate for preservation by that agency or its
        legitimate successor as evidence of the organization, functions, policies, decisions,
        procedures, operations, or other activities of the United States Government or
        because of the informational value of data in them.


                                        PROBABLE CAUSE

                                           NARA Referral

         24.    On February 9, 2022, the Special Agent in Charge ofNARA's Office of the




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  Inspector General sent the NARA Referral via email to DOJ. The NARA Referral stated that

  according to NARA' s White House Liaison Division Director, a preliminary review of the

  FIFTEEN BOXES indicated that they contained "newspapers, magazines, printed news articles,

  photos, miscellaneous print-outs, notes, presidential correspondence, personal and post-

  presidential records, and 'a lot of classified records .' Of most significant concern was that highly

  classified records were unfoldered, intermixed with other records, and otherwise unproperly [sic]

  identified."

          25.    On February 18, 2022, the Archivist of the United States, chief administrator for

  NARA, stated in a letter to Congress ' s Committee on Oversight and Reform Chairwoman The

  Honorable Carolyn B. Maloney, "NARA had ongoing communications with the representatives of

  former President Trump throughout 2021 , which resulted in the transfer of 15 boxes to NARA in

  January 2022 . . .. NARA has identified items marked as classified national security information

  within the boxes." The letter also stated that, " [b ]ecause NARA identified classified information

  in the boxes, NARA staff has been in communication with the Department of Justice." The letter

  was made publicly available at the following uniform resource locator (URL):

  https://www.archives.gov/fil es/foi a/ferri ero-response-to-02. 09.2022-maloney-

  letter.02 . l 8.2022. pdf. On February 18, 2022, the same day, the Save America Political Action

  Committee (PAC) posted the following statement on behalf ofFPOTUS: "The National Archives

  did not ' find ' anything, they were given, upon request, Presidential Records in an ordinary and

  routine process to ensure the preservation of my legacy and in accordance with the Presidential

  Records Act .... " An image of this statement is below.




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                                                                        SAVE
                                                       AMERICA
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                                        Statem ent by Donald J . Trum p, 45th President of the
                                                           United States o f America

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      Boxes Containing Documents Were Transported from the White House to Mar-a-Lago

          30.    According to a CBS Miami article titled "Moving Trucks Spotted At Mar-a-Lago,"

  published Monday, January 18, 2021, at least two moving trucks were observed at the PREMISES

  on January 18, 202 1.




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                        Provision of the Fifteen Boxes to NARA

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         39.    On or about May 6 2021 NARA made a request for the missing PRA records and

  continued to make requests until approximately late December 2021 when NARA was infonned

  twelve boxes were found and ready for retrieval at the PREMISES.




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             The FIFTEEN BOXES Provided to NARA Co11tai11 Classified Information

          47.    From May 16-18 2022 , FBI agents conducted a preliminary review of the

  FIFTEEN BOXES provided to NARA and identified documents with classification markings in

  fomieen of the FIFTEEN BOXES. A prelimirnuy triage of the documents with classification

  markings revealed the following approximate ntllllbers : 184 unique documents bearing

  classification markings, including 67 documents marked as CONFIDENTIAL 92 documents

  marked as SECRET and 25 documents marked as TOP SECRET. Fmther the FBI agents

  observed mai·kings reflecting the following compaiiments/dissemination controls: HCS , FISA

  ORCON, NOFORN, and SI. Based on my training and experience I know that documents

  classified at these levels typically contain NDI. Several of the doctllllents also contained what

  appears to be FPOTUS's handwritten notes.

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          50.




     Grand Jury Subpoena, Related Correspo11de11ce, and Production of Additional Classtfied
                                         Doc11111e11ts

          51.    DOJ has advised me that, on May 11 , 2022 an attorney representing FPOTUS ,

  "FPOTUS COUNSEL l ," agreed to accept se1vice of a grand jmy subpoena from a grand jmy

  sitting in the District of Columbia sent to him via email by one of the prosecutors handling this

  matter for DOJ 'DOJ COUNSEL." The subpoena was directed to the custodian of records for

  the Office of Donald J. Trump and it requested the following materials:

         Any and all documents or writings in the custody or control of Donald J. Tmmp
         and/or the Office of Donald J. Tmmp bearing classification markings including
         but not limited to the following : Top Secret Secret Confidential Top Secret/ SI-
         G/NOFORN/ORCON Top Secret/SI-G/NOFORN Top Secret/HCS-
         O/NOFORN/ORCON Top Secret/HCS-O/NOFORN Top Secret/HCS-
         P/NOFORN/ORCON, Top Secret/HCS-P/NOFORN Top
         Secret/TK/NOFORN/ORCON Top Secret/TK/NOFORN, Secret/NOFORN,
         Confidential/NOFORN TS TS/SAP TS/SI-G/NF/OC TS/SI-G/NF TS/HCS-
         O/NF/OC TS/HCS-O/NF TS/HCS-P/NF/OC TS/HCS-P/NF, TS/HCS-P/SI-G
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         and C/NF.




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  The return date of the subpoena was May 24, 2022. DOJ COUNSEL also sent FPOTUS

  COUNSEL 1 a letter that permitted alternative compliance with the subpoena by "providing any

  responsive documents to the FBI at the place of their location" and by providing from the

  custodian a "sworn certification that the documents represent all responsive records. " The letter

  further stated that if no responsive documents existed, the custodian should provide a sworn

  certification to that effect.

          52 .    On May 25 , 2022, while negotiating for an extension of the subpoena, FPOTUS

  COUNSEL 1 sent two letters to DOJ COUNSEL. In the second such letter, which is attached as

  Exhibit 1, FPOTUS COUNSEL 1 asked DOJ to consider a few "principles," which include

  FPOTUS COUNSEL 1' s claim that a President has absolute authority to declassify documents. In

  this letter, FPOTUS COUNSEL 1 requested, an1ong other things, that "DOJ provide this letter to

  any judicial officer who is asked to rule on any motion pe11aining to this investigation, or on any

  application made in connection with any investigative request concerning this investigation."

          53.     I am aware of an article published in Breitbart on May 5, 2022, available at

  https://www. breitbart.com/politics/2022/05/05/documents-mar-a-lago-marked-classified-were-

  already-declass ified-kash-patel-says/, which states that Kash Patel, who is described as a former

  top FPOTUS administration official, characterized as "misleading" reports in other news

  organizations that NARA had found classified materials among records that FPOTUS provided to

  NARA from Mar-a-Lago. Patel alleged that such reports were misleading because FPOTUS had

  declassified the materials at issue.




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          55.    After an extension was granted for compliance with the subpoena, on the evening

  of June 2, 2022, FPOTUS COUNSEL 1 contacted DOJ COUNSEL and requested that FBI agents

  meet him the following day to pick up responsive documents. On June 3, 2022, three FBI agents

  and DOJ COUNSEL arrived at the PREMISES to accept receipt of the materials. In addition to

  FPOTUS COUNSEL 1, another individual, hereinafter "INDIVIDUAL 2," was also present as the

  custodian of records for FPOTUS ' s post-presidential office. The production included a single

  Redweld envelope, wrapped in tape, containing documents. FPOTUS COUNSEL 1 relayed that

  the documents in the Red weld envelope were found during a review of the boxes located in the

  STORAGE ROOM. INDIVIDUAL 2 provided a Certification Letter, signed by INDIVIDUAL 2,

  which stated the following:

          Based upon the information that has been provided to me, I am authorized to ce1iify, on
          behalf of the Office of Donald J. Trump, the following: a. A diligent search was
          conducted of the boxes that were moved from the White House to Florida; b. This search
          was conducted after receipt of the subpoena, in order to locate any and all documents that
          are responsive to the subpoena; c. Any and all responsive docun1ents accompany this
          ce1iification; and d. No copy, written notation, or reproduction of any kind was retained as
          to any responsive document.

          56.    During receipt of the production, FPOTUS COUNSEL 1 stated he was advised all




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  the records that came from the White House were stored in one location within Mar-a-Lago, the

  STORAGE ROOM, and the boxes of records in the STORAGE ROOM were "the remaining

  repository" of records from the White House. FPOTUS COUNSEL 1 fwiher stated he was not

  advised there were any records in any private office space or other location in Mar-a-Lago. The

  agents and DOJ COUNSEL were pem1itted to see the STORAGE ROOM and observed that

  approximately fifty to fifty-five boxes remained in the STORAGE ROOM.




                                                                           Other items were also

  present in the STORAGE ROOM, including a coat rack with suit jackets, as well as interior decor

  items such as wall art and frames.

          57.




          58.    A preliminary review of the documents contained in the Redweld envelope

  produced pursuant to the grand jury subpoena revealed the fo llowing approximate numbers: 38

  unique documents bearing classification markings, including 5 documents marked as

  CONFIDENTIAL, 16 documents marked as SECRET, and 17 documents marked as TOP

  SECRET. Further, the FBI agents observed markings reflecting the following

  caveats/compartments, among others: HCS, SI, and FISA.

                                                                       Multiple documents also




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  contained what appears to be FPOTUS's handwritten notes .

            59.     Notably, although the FIFTEEN BOXES provided to NARA contained

  approximately 184 unique documents with classification markings, only approximately 38 unique

  documents with classification markings were produced from the remaining FPOTUS BOXES.

            60.     When producing the documents, neither FPOTUS COUNSEL 1 nor INDIVIDUAL

  2 asserted that FPOTUS had declassified the documents. 2 The docun1ents being in a Redweld

  envelope wrapped in tape appears to be consistent with an effort to handle the documents as if

  they were still classified.

            61.     On June 8, 2022, DOI COUNSEL sent FPOTUS COUNSEL 1 a letter, which

  reiterated that the PREMISES are not authorized to store classified information and requested the

  preservation of the STORAGE ROOM and boxes that had been moved from the White House to

  the PREMISES. Specifically, the letter stated in relevant part:

            As I previously indicated to you, Mar-a-Lago does not include a secure location
            authorized for the storage of classified information. As such, it appears that since the time
            classified documents (the ones recently provided and any and all others) were removed
            from the secure faci lities at the White House and moved to Mar-a-Lago on or around
            January 20, 202 1, they have not been handled in an appropriate manner or stored in an
            approptiate location. Accordingly, we ask that the room at Mar-a-Lago where the
            documents had been stored be secured and that all of the boxes that were moved from the
            White House to Mar-a-Lago (along with any other items in that room) be preserved in that
            room in their current condition until further notice.



  2
    18 U.S.C. § 793(e) does not use the term " classified information," but rather crimina li zes the unlawful retention of
  "information relating to the national defense." The statute does not define " information re lated to the national
  defense," but courts have construed it broadly. See Gorin v. United States, 3 12 U.S . 19, 28 ( 1941) (ho lding that the
  phrase " infonnation relating to the national defense" as used in the Espionage Act is a "generic concept of broad
  connotations, referring to the mi Iitary and naval estab li shments and the re lated activities ofnational preparedness").
  In addition, the information must be "close ly he ld" by the U.S . government. See United States v. Squillacote, 221
  F.3d 542, 579 (4th Cir. 2000) (" [l]nfonnation made public by the government as well as information never protected
  by the government is not national defense information."); Un ited States v. Morison, 844 F.2d 1057, 1071-72 (4th Cir.
  1988). Certain courts have also held that the disclosure of the documents must be potentially damag ing to the United
  States. See Morison, 844 F.2d at 1071-72.




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  On June 9 2022, FPOTUS COUNSEL 1 sent an email to DOJ COUNSEL stating, "I write to

  acknowledge receipt of this letter."




          62.    DOJ COUNSEL has advised me that on or about June 22 2022 counsel for the

  Trump Organization a group of business entities associated with FPOTUS confumed that the

  Trump Organization maintains security cameras in the vicinity of the STORAGE ROOM and that

  on June 24 2022 counsel for the Trump Organization agreed to accept service of a grand jmy

  subpoena for footage from those cameras.

          63 .   The subpoena was served on counsel on June 24 2022 directed to the Custodian

  of Records for the Trump Organization, and sought:

         Any and all sm-veillance records videos images, photo ·a hs, and/or CCTV from
         internal cameras located on ground floor (basement)
         -     on the Mar-a-Lago prope1iy located at 1100 S Ocean Blvd. Palm Beach, FL 33480
         from the time period of January 10, 2022 to present.

          64.    On July 6, 2022, in response to this subpoena, representatives of the Trnmp

  Organization provided a hard drive to FBI agents.




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        There is Probable Cause to Believe That Doc11111e11ts Co111ai11i11g Classified NDI and
                           Presidential Records Remain at the Premises

          70.   As explained above the FPOTUS BOXES contained numerous documents with

  classification markings, both in the FIFTEEN BOXES and in the remaining FPOTUS BOXES .

  As also explained above, the classified documents provided to the government in a Redweld

  envelope pursuant to the subpoena were represented to have been stored in boxes located in the

  STORAGE ROOM




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          77.    Based upon this investigation, I believe that the STORAGE ROOM, FPOTUS 's

  residential suite, Pine Hall the "45 Office " and other spaces within the PREMISES am not

  currently authorized locations for the storage of classified infonnation or NDI. Similarly based

  upon this investigation I do not believe that any spaces within the PREMISES have been

  authorized for the storage of classified information at least since the end of FPOTUS ' s

  Presidential Administration on January 20 2021 .

          78.    As described above evidence of the SUBJECT OFFENSES has been stored in

  multiple locations at the PREMISES .




  Accordingly, this affidavit seeks authorization to search the "45 Office" and all storage rooms and




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  any other rooms or locations where boxes or records may be stored within the PREMISES, as

  further described in Attachment A. The PREMISES is currently closed to club members for the

  summer; however, as specified in Attachment A, if at the time of the search, there are areas of the

  PREMISES being occupied, rented, or used by third parties, and not otherwise used or available

  to be used by FPOTUS and his staff, the search would not include such areas.



                                          CONCLUSION

          79.    Based on the foregoing facts and circumstances, I submit that probable cause exists

  to believe that evidence, contraband, fruits of crime, or other items illegally possessed in violation

  18 U.S.C. §§ 793(e), 2071, or 1519 will be fow1d at the PREMISES. Further, I submit that this

  affidavit supports probable cause for a warrant to search the PREMISES described in Attachment

  A and seize the items described in Attachment B.

                                     REQUEST FOR SEALING

         80.     It is respectfully requested that this Court issue an order sealing, until further order

  of the Court, all papers submitted in support of this application, including the application and

  search warrant. I believe that sealing this document is necessary because the items and

  information to be seized are relevant to an ongoing investigation and the FBI has not yet identified

  all potential criminal confederates nor located all evidence related to its investigation. Premature

  disclosure of the contents of this affidavit and related documents may have a significant and

  negative impact on the continuing investigation and may severely jeopardize its effectiveness by

  allowing criminal parties an opportunity to flee, destroy evidence (stored electronically and

  otherwise), change patterns of behavior, and notify criminal confederates.




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       SEARCH PROCEDURES FOR HANDLING POTENTIAL ATTORNEY-CLIENT
                       PRIVILEGED INFORMATION

         The following procedures will be followed at the time of the search in order to protect

  against disclosures of attorney-client privileged material:

         81.       These procedures will be executed by: (a) law enforcement personnel conducting

  this investigation (the "Case Team"); and (b) law enforcement personnel not participating in the

  investigation of the matter, who will search the "45 Office" and be available to assist in the event

  that a procedure involving potentially attorney-client privileged information is required (the

  "Privilege Review Team").

         82.       The Case Team will be responsible for searching the TARGET PREMISES.

  However, the Privilege Review Team will search the "45 Office" and conduct a review of the seized

  materials from the "45 Office" to identify and segregate documents or data containing potentially

  attorney-client privileged information.

         83.       If the Privilege Review Team determines the documents or data are not potentially

  attorney-client privileged, they will be provided to the law-enforcement personnel assigned to the

  investigation.    If at any point the law-enforcement personnel assigned to the investigation

  subsequently identify any data or documents that they consider may be potentially attorney-client

  privileged, they will cease the review of such identified data or documents and refer the materials

  to the Privilege Review Team for further review by the Privilege Review Team.

         84.       If the Privilege Review Team determines that documents are potentially attorney-

  client privileged or merit further consideration in that regard, a Privilege Review Team attorney

  may do any of the following: (a) apply ex parte to the court for a determination whether or not the

  documents contain attorney-client privileged material; (b) defer seeking court intervention and




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  continue to keep the documents inaccessible to law-enforcement personnel assigned to the

   investigation; or (c) disclose the documents to the potential p1ivilege holder, request the privilege

  holder to state whether the potential privilege holder asserts attorney-client p1ivilege as to any

  documents including requesting a particularized privilege log and seek a ruling from the comt

  regarding any attorney-client privilege claims as to which the Privilege Review Team and the

  privilege-holder cannot reach agreement.




                                                        Respectfully submitted




                                                        Specia Agent
                                                        Federal Bureau of Investigation

  Subscribed and sworn before me by
  telephone (Wh1}tsApp) or other reliable electronic
  means this - ~- day o       st 2022:




          HON.BRUCEE. REINHART
          UNITED STATES MAGISTRATE JUDGE




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                                       A Limited Liability Company
   SILVERMAN                           400 East Pratt Street - Suite 900
                                       Baltimore, Maryland 2 1 2 o 2
                                                                                                             Write1's Direct Con tact:
                                                                                                                        Evan Corcoran

   THOMPSON                            Telephone 41 O. 3 8 5 . 2 2 2 5
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       ATTORNEYS AT L.<\W

                                                    May 25, 2022

     Via Electronic Mail

     Jay I. Bratt, Esquire
     Chief
     Counterintelligence & Export Control Section
     National Security Division
     U.S. Department of Justice
     950 Pennsylvania, Avenue, N.W.
     Washington, D.C. 20530

                    Re:     Presidential Records Investigation

     Dear Jay:

     I write on behalf of President Donald J. Trump regarding the above-referenced matter.

     Public trust in the government is low. At such times, adherence to the rules and long-standing
     policies is essential. President Donald J. Trump is a leader of the Republican Party. The
     Department of Justice (DOI), as part of the Executive Branch, is under the control of a President
     from the opposite party. It is critical, given that dynamic, that every effort is made to ensure that
     actions by DOI that may touch upon the former President, or his close associates, do not involve
     politics.

     There have been public reports about an investigation by DOI into Presidential Records
     purportedly marked as classified among materials that were once in the White House and
     unknowingly included among the boxes brought to Mar-a-Lago by the movers. It is important to
     emphasize that when a request was made for the documents by the National Archives and Records
     Administration (NARA), President Trump readily and voluntarily agreed to their transfer to
     NARA. The communications regarding the transfer of boxes to NARA were friend ly, open, and
     straightforward. President Trump voluntarily ordered that the boxes be provided to NARA. No
     legal objection was asserted about the transfer. No concerns were raised about the contents of the
     boxes. It was a voluntary and open process.

     Unfortunately, the good faith demonstrated by President Trump was not matched once the boxes
     arrived at NARA. Leaks followed. And, once DOI got involved, the leaks continued. Leaks about
     any investigation are concerning. Leaks about an investigation that involve the residence of a
     former President who is still active on the national political scene are particularly troubling.
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     It is important to note a few bedrock principles:

             (1) A President Has Absolute Authority To Declassify Documents.

     Under the U.S . Constitution, the President is vested with the highest level of authority when it
     comes to the classification and declassification of documents. See U.S. Const., Art. II, § 2 ("The
     President [is] Commander in Chief of the Army and Navy of the United States[.]"). His
     constitutionally-based authority regarding the classification and declassification of documents is
     unfettered. See Navy v. Egan, 484 U.S. 518, 527 (1988) ("[The President's] authority to classify
     and control access to information bearing on national security . . . flows primarily from this
     constitutional investment of power in the President and exists quite apart from any explicit
     congressional grant.").

             (2) Presidential Actions Involving Classified Documents Are Not Subject To Criminal
                 Sanction.

     Any attempt to impose criminal liability on a President or former President that involves his actions
     with respect to documents marked classified would implicate grave constitutional separation-of-
     powers issues. Beyond that, the primary criminal statute that governs the unauthorized removal
     and retention of classified documents or material does not apply to the President. That statute
     provides, in pertinent part, as fo llows:

                     Whoever, being an officer, employee, contractor, or consultant of
                     the United States, and, by virtue of his office, employment, position,
                     or contract, becomes possessed of documents or materials
                     containing classified information of the United States, knowingly
                     removes such documents or materials without authority and with the
                     intent to retain such documents or materials at an unauthorized
                     location shall be fined under this title or imprisoned for not more
                     than five years, or both.

     18 U.S.C. § 1924(a). An element of this offense, which the government must prove beyond a
     reasonable doubt, is that the accused is "an officer, employee, contractor, or consultant of the
     United States. " The President is none of these. See Free Enter. Fund v. Pub. Co. Acct. Oversight
     Bd. , 56 1 U.S . 477, 497- 98 (20 10) (citing U.S . Const. , Art. II, § 2, cl. 2) ("The people do not vote
     for the ' Officers of the United States."'); see also Melcher v. Fed. Open Mkt. Comm., 644 F. Supp.
     510, 518-19 (D.D.C. 1986), aff'd, 836 F.2d 561 (D.C. Cir. 1987)("[a]n officer of the United States
     can only be appointed by the President, by and with the advice and consent of the Senate, or by a
     court of law, or the head of a department. A person who does not derive his position from one of
     these sources is not an officer of the United States in the sense of the Constitution."). Thus, the
     statute does not apply to acts by a President.



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            (3) DOJ Must Be Insulated From Political Influence.

     According to the Inspector General ofDOJ, one of the top challenges fac ing the Department is the
     public perception that DOJ is influenced by politics. The report found that "[ o ]ne important
     strategy that can build public trust in the Department is to ensure adherence to policies and
     procedures designed to protect DOJ from accusations of political influence or partial application
     of the law." See https ://oig.justice.gov/reports/top-management-and-performance-challenges-
     facing-depaiiment-justice-2021 (last visited May 25 , 2022). We request that DOJ adhere to long-
     standing policies and procedures regarding communications between DOJ and the White House
     regarding pending investigative matters which are designed to prevent political influence in DOJ
     decision-making.

            (4) DOJ Must Be Candid With Judges And Present Exculpatory Evidence.

     Long-standing DOJ policy requires that DOJ attorneys be candid in representations made to
     judges. Pursuant to those policies, we request that DOJ provide this letter to ai1y judicial officer
     who is asked to rule on any motion pertaining to this investigation, or on any application made in
     connection with any investigative request concerning this investigation.

     The official policy of DOJ further requires that prosecutors present exculpatory evidence to a grand
     jury. Pursuant to that policy, we request that DOJ provide this letter to any grand jury considering
     evidence in connection with this matter, or any grand jury asked to issue a subpoena for testimony
     or documents in connection with this matter.

     Thank you for your attention to this request.

                                   With best regards,


                                    ~4--~
                                   M. Evan Corcoran


     cc:    Matthew G. 0 lsen
            Assistant Attorney General
            National Security Division
            Via Electronic Mail




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                                           ATTACHMENT A

                                         Property to be searched

           The premises to be searched, 1100 S Ocean Blvd, Palm Beach, FL 33480, is further

   described as a resort, club, and residence located near the intersection of Southern Blvd and S

   Ocean Blvd. It is described as a mansion with approximately 58 bedrooms, 33 bathrooms, on a

   17-acre estate. The locations to be searched include the "45 Office," all storage rooms, and all

   other rooms or areas within the premises used or available to be used by FPOTUS and his staff

   and in which boxes or documents could be stored, including all structures or buildings on the

   estate. It does not include areas currently (i.e. , at the time of the search) being occupied, rented,

   or used by third parties (such as Mar-a-Largo Members) and not otherwise used or available to be

   used by FPOTUS and his staff, such as private guest suites.
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                                          ATTACHMENT B

                                         Property to be seized

         All physical documents and records constituting evidence, contraband, fruits of crime, or

  other items illegally possessed in violation of 18 U.S .C. §§ 793 , 2071 , or 1519, including the

  following:

                 a. Any physical documents with classification markings, along with any

  containers/boxes (including any other contents) in which such documents are located, as

  well as any other containers/boxes that are collectively stored or found together with the

  aforementioned documents and containers/boxes;

                 b. Information, including communications in any form, regarding the

  retrieval, storage, or transmission of national defense information or classified material;

                 c. Any government and/or Presidential Records created between January

  20, 2017, and January 20, 2021 ; or

                 d. Any evidence of the knowing alteration, destruction, or concealment of

  any government and/or Presidential Records, or of any documents with classification

  markings.
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                                         Attachment 4

             United States’ Proposed Judicial Protective Order
                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                               CASE NO. 22-CV-81294-CANNON

    DONALD J. TRUMP,

           Plaintiff,

    v.

    UNITED STATES OF AMERICA,

          Defendant.
    ________________________________/

                        [PROPOSED] JUDICIAL PROTECTIVE ORDER

           Following notice and opportunity to be heard, further to paragraph 19 of the Order

    dated September 15, 2022 [ECF No. 91], and pursuant to the parties’ stipulated judicial

    protective order [ECF No. ___],1 it is hereby

           ORDERED AND ADJUDGED as follows:

           1.      Introduction and Basis for Judicial Protective Order. – The Court’s Order

    appointing the special master [ECF No. 91, ¶ 5] requires the government to provide copies

    of materials seized during the August 8, 2022 execution of a court-authorized search

    warrant at the premises located at 1100 S. Ocean Boulevard, Palm Beach, Florida 33480

    (the “Seized Materials”) to the Special Master, Plaintiff’s counsel, and certain agents and

    employees. The Seized Materials are evidence in a criminal investigation case, most of

    whose details are not a matter of public record. In addition, the Court’s order [ECF No. 91,


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    ¶ 5] requires the Parties to prepare logs based on and derived from the Seized Materials that

    should similarly be protected from public disclosure to facilitate the special-master-review

    process. To preserve the confidentiality of non-public information and protect the special-

    master-review process, the Court enters this Judicial Protective Order.4

           2.      Confidentiality and Non-Disclosure of Seized Materials and Undertakings

    on Exhibit A. – The Seized Materials produced by the government are confidential and

    shall be disclosed to no one other than the Special Master, his law clerks, admitted

    Plaintiff’s counsel of record in this case (“Plaintiff’s Counsel”), staff supporting Plaintiff’s

    Counsel (such as paralegal assistants, secretarial, stenographic, and clerical employees) who

    are working on this case under the direction of Plaintiff’s Counsel and to whom it is

    necessary that the Seized Materials be disclosed for purposes of executing this Court’s

    orders, and vendors approved by the Special Master or this Court for purposes of scanning,

    hosting, reviewing or otherwise processing electronic copies of Seized Materials.

           Plaintiff’s Counsel shall provide the government with the names and job titles of any

    staff who Plaintiff’s Counsel propose to review Seized Materials at least two business days

    before Seized Materials are shown to such persons and such persons must execute the

    “Acknowledgment of Protective Order” that is attached to this Judicial Protective Order at



    4 This Judicial Protective Order does not govern Seized Materials with classification
    markings. The government contends that Seized Materials with classification markings
    should not be provided to the Special Master or Plaintiff’s counsel and has pending before
    the United States Court of Appeals for the Eleventh Circuit an application for a stay
    pending appeal. If the Eleventh Circuit stays this Court’s order with respect to documents
    with classification markings, this Judicial Protective Order will govern Seized Materials
    without classification markings. If any classified materials will ultimately be provided to
    Plaintiff’s counsel, then the parties will propose a separate judicial protective order for the
    Court to enter concerning documents with classification markings that is similar to a
    protective order pursuant to Section 3 of the Classified Information Procedures Act, 18
    U.S.C. App. III § 3.
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    Exhibit A. If the government objects to disclosure during such two-day period, no Seized

    Materials may be disclosed until the government’s objection is resolved by the Court.5

           Vendors who are engaged to scan, host, provide review, or otherwise process the

    electronic copies of the Seized Materials must also sign execute the “Acknowledgment of

    Protective Order” that is attached to this Judicial Protective Order at Exhibit A.

           3.     Limitations on Use. – Plaintiff’s Counsel, their staff, and any vendors shall

    use Seized Materials exclusively in connection with the above-captioned case and not for

    any other purpose. Nothing herein shall prevent a party from using Seized Materials as

    exhibits to pleadings or otherwise, or from referring to, quoting, or reciting from Seized

    Materials contained in such materials in connection with pleadings or motions filed in the

    above-captioned case; provided, however, that any such Seized Materials be filed under seal or

    submitted to the Special Master or Court for in camera inspection.

           4.     Maintaining Copies of Seized Materials. – Plaintiff’s Counsel, their staff,

    and any vendors to whom the government provides Seized Materials shall maintain any

    Seized Materials produced pursuant to this Judicial Protective Order in a manner

    reasonably intended to preserve and maintain the confidentiality of the materials.

    Specifically, Plaintiff’s Counsel, their staff, and any vendors shall maintain Seized Materials

    in secure areas or on secure networks along with a copy of this Judicial Protective Order. If

    stored electronically on networks not owned by the government, Seized Materials shall be

    password-protected and the network folders in which they are stored shall be walled off

    from any individuals not directly assisting in the above-captioned case.




    5 With respect to the Seized Materials, the government is separately bound by the Warrant
    and this Court’s order, which includes an injunction.
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           5.     Unauthorized Disclosure. – If Plaintiff’s Counsel, their staff, or any vendor

    learns that it has disclosed, inadvertently or otherwise, Seized Materials to a person in a

    circumstance not authorized under this Judicial Protective Order or any unauthorized

    access to Seized Materials otherwise occurs, the disclosing party must immediately

    (a) notify the government in writing of the unauthorized disclosures, (b) use its best efforts

    to retrieve all unauthorized copies of the Seized Materials, (c) inform the person or persons

    to whom unauthorized disclosures were made of all the terms of this Judicial Protective

    Order, and (d) request such person or persons sign the “Acknowledgment of Protective

    Order” that is attached to this Judicial Protective Order at Exhibit A.

           6.     Violations. – Violations of this Judicial Protective Order shall be punishable

    by contempt of court or any other legally available sanction that the Court deems

    appropriate. All parties to whom Seized Materials are disclosed in accordance with this

    Judicial Protective Order consent and submit to this Court’s jurisdiction for purposes of

    enforcing this order.

           7.     Further Relief. – Nothing in this Judicial Protective Order shall be construed

    as restricting any party from seeking such further relief as may be available under applicable

    law.

           DONE AND ORDERED in Chambers at Fort Pierce, Florida, this ___ day of

    September 2022.




                                                AILEEN M. CANNON
                                                UNITED STATES DISTRICT JUDGE


    cc:    counsel of record

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                                             EXHIBIT A

                ACKNOWLEDGMENT OF JUDICIAL PROTECTIVE ORDER

           I hereby acknowledge that I received a copy of the Judicial Protective Order issued in

    Donald J. Trump v. United States of America, Case No. 22-CV-81294-CANNON (S.D. Fla.), that

    I read and understand it, and I agree to be bound by its terms. I further understand that by

    signing this Acknowledgment, I subject myself to the jurisdiction of the United States District

    Court for the Southern District of Florida for the purpose of enforcing the terms of the Judicial

    Protective Order and punishing any violations thereof.




                                                     ____________________________
                                                     Name (Printed)

                                                     ____________________________
                                                     Signature

                                                     ____________________________
                                                     Street Address

                                                     ____________________________
                                                     City, State, and Zip Code

                                                     ____________________________
                                                     Telephone Number

                                                     ____________________________
                                                     E-Mail Address




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                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on [date], I electronically filed the foregoing document

    with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

    served this day on all counsel of record via transmission of Notices of Electronic Filing

    generated by CM/ECF.




                                              s/
                                              [Name]
                                              Assistant United States Attorney




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